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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

RENATA SINGLETON; MARC
MITCHELL; LAZONIA BAHAM;
TIFFANY LACROIX; and SILENCE IS                      Civil Action No. 17-10721
VIOLENCE,
                                                     Section H
        Plaintiffs,                                  Judge Jane Triche Milazzo

v.                                                   Division 1
                                                     Magistrate Judge Janis van Meerveld
LEON CANNIZZARO, in his official
capacity as District Attorney of Orleans
Parish and in his individual capacity;
GRAYMOND MARTIN; DAVID PIPES;
JASON NAPOLI; ARTHUR MITCHELL;
LAURA RODRIGUE; in their individual
capacities,

        Defendants.


     LIST OF EXHIBITS IN SUPPORT OF PLAINTIFF’S RENATA SINGLETON’S
      OPPOSITION TO INDIVIDUAL DEFENDANTS’ MOTION FOR SUMMARY
     JUDGMENT, PLAINTIFF’S RESPONSE TO DEFENDANTS’ STATEMENT OF
       UNDISPUTED FACTS, AND PLAINTIFF’S COUNTER-STATEMENT OF
                            UNDISPUTED FACTS

     Exhibit
                      Description                             Bates / Dkt.
     Number
                      Declaration of Renata Singleton (Dec.   n/a
        1
                      14, 2020)
                      Transcript of Deposition of Renata      n/a
        2
                      Singleton (Sept. 3, 2020)
                      Motion and Order for Material Witness   OPDA18397-99
        3             Bond for R. Singleton (Apr. 24, 2015)
                      Transcript of Deposition of Tiffany     n/a
        4             Dover, nee Tucker (Sept. 28, 2020)
                      Transcript of Deposition of Arthur      n/a
        5             Mitchell (Sept. 21, 2020)




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           Transcript of Deposition of David Pipes   n/a
           (Rough) (Dec. 4, 2020)



  6




           Composite exhibit of fake subpoena        Plaintiffs-12396, OPDA10249,
           types used by OPDA                        OPDA00322, OPDA00029,
                                                     OPDA00113, OPDA00003,
  7
                                                     OPDA00062, OPDA00320,
                                                     OPDA00075, OPDA086024,
                                                     Plaintiffs-04121
           Collection of fake OPDA subpoenas         OPDA086024, OPDA086014,
           (produced Dec. 9, 2020)                   OPDA086016, OPDA086018,
  8                                                  OPDA086034, OPDA086094

           Transcript of Rule 30(b)(6) Deposition    n/a
  9        of OPDA (Deponent David Pipes) (Oct.
           19, 2020)
           Fake Subpoena Template Email (May         OPDA039340-43
  10       13, 2014)
           Collection of 191 fake OPDA subpoenas
           based on May 13, 2014 email template
  11


           Fake subpoenas submitted in Arthur        OPDA00126, OPDA00125,
           Mitchell's cases                          OPDA00215, OPDA00205,
  12                                                 OPDA00148, OPDA00216,
                                                     OPDA00230, OPDA00233,
                                                     OPDA00314
           Fake Subpoena to Jasmine Dansey           OPDA00230


  13



           Declaration of Jasmine Dansey (Dec. 15,   n/a
  14       2020)




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           Docket Master for State v. Vernell        OPDA0085337-38
  15       Nelson

           Fake subpoenas served by Corey Porter     OPDA00126, OPDA00124,
                                                     OPDA00130, OPDA00180,
                                                     OPDA00132, OPDA00190,
                                                     OPDA00149, OPDA00191,
  16
                                                     OPDA00151, OPDA00127,
                                                     OPDA00203, OPDA00184,
                                                     OPDA00199, OPDA00198,
                                                     OPDA00247, OPDA00248,
           OPDA Responses to Tiffany LaCroix’s       n/a
           Second Set of Interrogatories (Dec. 11,
           2020)



  17




           Fake Subpoena to Keith McGuire            INDEF00780
  18
           Email from J. O’Hern to G. Martin re:     OPDA086344-45
  19
           DA Subpoena (Apr. 21, 2017)
           Memorandum from G. Martin to OPDA         OPDA00653-54
  20       Attorneys re: Witnesses with Notice to
           Appear Template (Apr. 26, 2017)
           Email from G. Martin to S. Walker re:     OPDA039344-45
  21       Email to all Assistant District Attorneys
           (Apr. 26, 2017)
           Memorandum from G. Martin re:             OPDA00624
  22       Revised Witness Contact Policy (Apr.
           28, 2017)
           New Orleans Police Department Incident INDEF01520-24
  23       Report (Nov. 2, 2014)

           Criminal Appearance Bond (Dec. 12,        INDEF01706
  24       2014)
           Letter from K. Avery to R. Singleton      INDEF01508
  25       (Nov. 7, 2014)


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                 Email from A. Jackson to B. Thornton       OPDA068915
      26         and T. Tucker (Dec. 11, 2014)
                 CourtNotify records for R. Singleton       OPDA18942-47
      27
                 Text message between Arthur Mitchell       OPDA087669
      28         and Corey Porter
                 Text messages between Corey Porter         OPDA087596-98
      29         and Orleans Parish Police Department
                 Officers
                 OPDA’s Responses to Renata                 n/a
      30         Singleton’s Third Set of Interrogatories
                 (Dec. 11, 2020)
                 State v. Singleton Status Hearing          OPDA017928-37
                 Transcript (Jun. 3, 2015)
      31


                 Docket Master for State v. Vernon          OPDA18390-94
      32         Crossley
                 Declaration of Kenyatta Phillips (Dec.     n/a
      33
                 14, 2020)
                 Mitchell Responses to Pls.’ First          n/a
      34         Requests for Admissions (Aug. 17,
                 2020)



Dated: December 15, 2020                          Respectfully Submitted,


                                                  s/ Tara Mikkilineni

Katherine Chamblee-Ryan (pro hac vice)            Mariana Kovel (pro hac vice)
Tara Mikkilineni (pro hac vice)                   American Civil Liberties Union Foundation
Ryan C. Downer (pro hac vice)                     125 Broad Street, 18th Floor
Laura Gaztambide Arandes (pro hac vice)           New York, NY 10004
Jeffrey Stein (pro hac vice)                      Tel: (646) 905-8870
Civil Rights Corps                                mkovel@aclu.org
1601 Connecticut Avenue NW, Suite 800
Washington, D.C. 20009
Tel: (202) 844-4975




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 Somil Trivedi (pro hac vice)                    Bruce Hamilton
 American Civil Liberties Union Foundation       La. Bar No. 33170
 915 15th Street NW                              ACLU Foundation of Louisiana
 Washington, DC 20005                            1340 Poydras St., Suite 2160
 Tel: (202) 715-0802                             New Orleans, LA 70156
                                                 Tel: (504) 522-0628

 Gerald S. Sachs (pro hac vice)                  Sarah S. Brooks (pro hac vice)
 Venable LLP DC                                  Venable LLP
 600 Massachusetts Ave. NW                       2049 Century Park East, Suite 2300
 Washington, DC 20001                            Los Angeles, CA 90067
 Tel: (202) 344-4269                             Tel: (310) 229-0408

 Allison B. Gotfried (pro hac vice)              Michael S. Blume (pro hac vice)
 Venable LLP                                     Venable LLP
 1270 Avenue of the Americas                     1270 Avenue of the Americas
 24th Floor                                      24th Floor
 New York, NY 10020                              New York, NY 10020
 Tel: (212) 370-6227                             Tel: (212) 370-5500


Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

        I certify that on December 15, 2020, I electronically filed the foregoing List of Exhibits
using the CM-ECF System, which caused notice to be sent to via email to all counsel of record.



                                                     s/ Tara Mikkilineni




                                                 6
